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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                         )
                                                   )
         Plaintiff,                                )      Criminal No. 6:13-cr-47-GFVT-HAI-4
                                                   )
 V.                                                )
                                                   )
 EWING BOWLING,                                    )                      ORDER
                                                   )
         Defendant.                                )


                                        *** *** *** ***

       This matter is before the Court on the Recommended Disposition [R. 855] filed by

United States Magistrate Judge Hanly A. Ingram. The Defendant, Ewing Bowling, is charged

with three violations of his supervised release conditions. Id. at 2. These three violations

include: (i) “purchase, possess, use, distribute, or administer any controlled substance or any

paraphernalia related to any controlled substance, except as prescribed by a physician;” (ii)

committing another state, federal, or local crime; and (iii) failing to follow the instructions of a

probation officer. Id. Judgment was originally entered against the Defendant in March 2015,

after Mr. Bowling pled guilty to conspiracy to manufacture methamphetamine in violation of 21

U.S.C. §§ 841(a)(1) and 846. Id. at 1. He was originally sentenced to 60 months followed by a

three-year term of supervised release. Id. Mr. Bowling began his term of supervised release on

January 22, 2018. Id.

       On December 4, 2018, the United States Probation Office issued a Supervised Release

Violation Report which initiated these proceedings. Id. The report first alleged two violations
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but later was given an addendum alleging a third violation. Id.

       First, the Report stated that the Defendant submitted two urine samples that tested

positive for methamphetamine on separate occasions. Id. In response to this result, the

Defendant signed an admission that he used the drugs as a pick-me up at work. Id. Based on

this admission the Defendant was charged with violating the condition of his supervised release

which prohibits the use of any controlled substance except as prescribe by a physician. Id. at 2.

This is a Grade C violation.

       Second, the Report charged the Defendant with a violation of the condition that he refrain

from committing another federal, state, or local crime. Id. This violation also stems from the

Defendant’s confession that he used methamphetamine. Id. Under Sixth Circuit precedent, a

supervised releasee who uses a controlled substance is considered to have possessed that

controlled substance. United States v. Crace, 207 F.3d 833 (6th Cir. 2000). Therefore,

Bowling’s confession established his possession of methamphetamine, both Schedule II

controlled substances. As such his conduct would be a Class E felony under 21 U.S.C. § 844(a),

Simple Possession of a Controlled Substance. This conduct constitutes a Grade B violation.

       Lastly, the Addendum added the charge that Bowling failed to follow the instructions of

his probation officer. Id. at 3. Bowling was given a sweat patch to detect the presence of drugs

and was told to notify the probation office if the condition of the patch changed. Id. But

Bowling did not notify the probation office when the sweat patch became partially separated

from the skin.

       At the final revocation hearing, held on March 22, 2019, Bowling competently entered a

knowing, voluntary, and intelligent stipulation to all violations that had been charged by the

USPO in the Supervised Release Violation Report. [R. 854.] On March 26, 2019, Magistrate
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Judge Ingram issued a Recommended Disposition which recommended revocation of Bowling’s

supervised release, a term of four months of imprisonment, completion of a 90-day inpatient

drug treatment program immediately upon release, submission to a mental health evaluation, and

post-release supervision until January 21, 2021. [R 855.]

       Judge Ingram appropriately considered the 18 U.S.C. § 3553 factors in coming to his

recommended sentence. Bowling has shown a willingness to take responsibility and cooperate

with the Court. Id. at 7. For that reason, his sentence should be focused on rehabilitation. Id. If

Bowling can overcome his addiction, then future illicit conduct will be deterred. Id. Bowling’s

conduct was a breach of the Court’s trust. The penalty imposed today, however, is enough to get

Bowling attention. And while Bowling is getting a slightly below Guidelines sentence, his

inpatient drug treatment resembles custody because he is unable to leave the facility. Id. at 8.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition further advises the parties that objections must be filed within fourteen (14) days of

service. Id. at 9. See 28 U.S.C. § 636(b)(1). No objections have been filed, and Defendant

Bowling submitted a waiver of allocution. [R. 856.] Generally, this Court must make a de novo

determination of those portions of the Recommended Disposition to which objections are made.

28 U.S.C. § 636(b)(1)(c). When no objections are made, as in this case, this Court is not

required to “review . . . a magistrate’s factual or legal conclusions, under a de novo or any other

standard.” See Thomas v. Arn, 474 U.S. 140, 151 (1985). Parties who fail to object to a

magistrate judge’s report and recommendation are also barred from appealing a district court’s

order adopting that report and recommendation. United States v. Walters, 638 F.2d 947 (6th Cir.

1981). Nevertheless, this Court has examined the record and agrees with Magistrate Judge

Ingram’s Recommended Disposition. Accordingly, and the Court being sufficiently advised, it is
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hereby ORDERED as follows:

       1.     The Recommended Disposition [R. 855] as to Defendant Ewing Bowling is

ADOPTED as and for the Opinion of the Court;

       2.     Defendant Bowling is found to have violated the terms of his Supervised Release

as set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition

of the Magistrate Judge;

       3.     Bowling’s Supervised Release is REVOKED;

       4.     Mr. Bowling is SENTENCED to the Custody of the Bureau of Prisons for a term

of four months of imprisonment;

       5.     Bowling is required to comply with all aspects and complete a 90-day inpatient

drug treatment program immediately upon release;

       6.     Bowling’s term of post-release supervision by the Probation Office will run until

January 21, 2021 under the original conditions imposed; and

       7.     Bowling must undergo a mental health evaluation.

       This the 15th day of April, 2019.




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